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IN THE UNITED sTATEs DISTRICT coURr q atf d
FoR THE wEsTERN DIsrch'r oF risi\n\tnssnrlt Lf’:~‘ Wr~
WESTERN nrvIsIoN

 

 

 

UNITED sTArEs oF AMERICA ) COUBT
Plaintifl“, §
vs § CAsE No. 2:04cR20458-M1
DARRYL RUDD §
Defendant. ))
)
oRDER To sURRENDER

 

The defendant, Darryl Rudd, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to TAFT CI, 1500 Cadet Road, Taft, CA
93268, by 2:00 p.m. on WEDNESDAY, AUGUST 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered to the facility named above.

ENTEREDthis the _\:)_ day ofAugust, 2005

@m@itt

PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

   
 

 

This document entered on the docket sheet in co{mp|iance
with Hu|e vi emi/or 32{b) FRCrP on ’ '

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

   

UNITED sTATE DRISTIC COUR - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20458 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

